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 4   (916) 554-2700
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 6
 7
 8                       IN THE UNITED STATES DISTRICT COURT

 9                          EASTERN DISTRICT OF CALIFORNIA

10
11   UNITED STATES OF AMERICA,                   )   CASE NO. 2:13-cr-00078 MCE
                                                 )
12                        Plaintiff,             )
                                                 )   STIPULATION AND ORDER
13   v.                                          )
                                                 )
14    RATHANAK VAN,                              )
          aka “LOONEY”                           )   Date: July 18, 2013
15    SNANGEHK PEOU,                             )   Time: 9:00 a.m.
      LITTANOVONE KEOPADUBSY, and                )   Judge: Hon. Morrison E. England
16    HO LY,                                     )
                                                 )
17                        Defendants.            )
                                                 )
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19
             IT IS HEREBY STIPULATED by and between: Assistant United
20
21   States Attorney Paul Hemesath, counsel for Plaintiff; Michael Petrik,

22   counsel for defendant RATHANAK VAN, Christopher Cosca, counsel for

23   defendant SNANGEHK PEOU; Mark Reichel, counsel for LITTANOVONE
24   KEOPADUBSY; and Michael Long, counsel for HO LY, that the above status
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     conference be rescheduled from this Court’s July 18, 2013, calendar,
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     and that the matter be re-calendared for September 5, 2013, at 9:00
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     a.m.   This request is made jointly by the government and defense in
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     order to permit time for continued preparation, including investigation
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     which is currently in progress, and plea negotiations.             Defense counsel
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 3   is reviewing substantial discovery materials, including hours of video

 4   and audio recordings concerning the alleged conduct.            The parties agree

 5   that the interests of justice served by granting this continuance
 6   outweigh the best interests of the public and the defendant in a speedy
 7
     trial.
 8
               IT IS FURTHER STIPULATED that time be excluded between July 18,
 9
     and September 5, 2013, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv), Local
10
11   Code T-4.

12   Dated: July 15, 2013                          /s/ Paul Hemesath
                                                   Paul Hemesath
13                                                 Assistant United States Attorney
                                                   Counsel for Plaintiff
14
15
     Dated: July 15, 2013                          /s/ Michael Petrik
16                                                 Michael Petrik
                                                   Counsel for Defendant
17                                                 RATHANAK VAN
18
     Dated: July 15, 2013                          /s/ Mark Reichel
19
                                                   Mark Reichel
20                                                 Counsel for Defendant
                                                   LITTANOVONE KEOPADUBSY
21
22   Dated: July 15, 2013                          /s/ Christopher Cosca
                                                   Christopher Cosca
23                                                 Counsel for Defendant
24                                                 SNANGEHK PEOU

25
     Dated: July 15, 2013                          /s/ Michael Long
26                                                 Michael Long
                                                   Counsel for Defendant
27                                                 HO LY
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                                           O R D E R
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 2
               Finding that the interests of justice served by granting this
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     continuance outweigh the best interests of the public and the defendant
 4
     in a speedy trial, IT IS SO ORDERED.          The status conference currently
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     scheduled for July 18, 2013, is hereby vacated and continued to
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     September 5, 2013, at 9:00 a.m. in Courtroom 7.
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     Dated:    July 23, 2013
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